Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 1 of 45 PageID 484




               Exhibit 1
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 2 of 45 PageID 485
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 3 of 45 PageID 486
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 4 of 45 PageID 487
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 5 of 45 PageID 488
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 6 of 45 PageID 489
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 7 of 45 PageID 490
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 8 of 45 PageID 491
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 9 of 45 PageID 492
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 10 of 45 PageID 493
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 11 of 45 PageID 494
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 12 of 45 PageID 495
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 13 of 45 PageID 496
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 14 of 45 PageID 497
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 15 of 45 PageID 498
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 16 of 45 PageID 499
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 17 of 45 PageID 500
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 18 of 45 PageID 501
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 19 of 45 PageID 502
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 20 of 45 PageID 503
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 21 of 45 PageID 504
 Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                     Page 22 of 45 PageID 505
                                                                                   


H;2U )2HH><@8U '.DH<2FU F;.>>U /2U 0A@FHDN21U .@1U 2@7D021U <@U .00AD1.@02U P<KU .@1U 8AO2E21U /RU H;2U
<@H2E.>UFL/FH.@H<O2U>.PFUA3UH;2U)H.H2UA3U*2Q.FUP<H;ALHU8<O<@8U2420HUHAU0;A<02UA3>.PUBD<@0<B>2F U

          U >>U1A>>.DU.?AL@HFU.D2U<@U+@<H21U)H.H2FU1A>>.DF U

         U ,<H;<@U U 1.RFU A3UH;2U 6><@8U A3U'>.<@H<5FU $AH<A@U 7DU 'D2><?<@.DRU BBDAO.>U
<0=2RFUF;.>>UBDAO<12UU@AH<02UD2CL<D21U/RUU+ )  UTU  / U

 %U , *%))U ,(&U H;2U B.DH<2FU ;2D2HAU ;.O2U 0.LF21U H;2U )2HH>2?2@HU 8D22?2@HU HAU /2U
2Q20LH21U/RUH;2<DU1L>RU.LH;AD<S21U.HHAE2RF U

            



                                                .H2U       
2@.EAPU
.EAPU.@1UFFA0<.H2FU'  U



                                                           
                
;<?<0>2FU)0;P.DHSU"D<@2DUUA@.>1FA@)?<H;U##'U



                                       .H2U L9LFIU U  U
!U  U-U.@0;L@<FU
$AD8.@UU$AD8.@UA?B>2QU#<H<8.H<A@UDALBU


   



                                                .H2U M:MGJU U  U
.@U U.>>A@U
D22@/2D8U*D.LD<8U##'U



                                                      August 11, 2021
                                                .H2U
;D<FHAB;2DU) UA1D<>>U
D22@/2D8U*D.LD<8U##'U




                   
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 23 of 45 PageID 506




              Exhibit A
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                    Page 24 of 45 PageID 507



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

 DEMI KOSTKA, et al., individually and on
 behalf of all others similarly situated,
                                                       No. 3:20-cv-3424-K
      Plaintiffs,
                                                       Hon. Ed Kinkeade
            v.
                                                          Consolidated with:
 DICKEY’S BARBECUE
 RESTAURANTS, INC., et al.,                            Civil Action No. 3:20-cv-3603-K
                                                       Civil Action No. 3:21-cv-0137-K
      Defendants.                                      Civil Action No. 3:21-cv-0769-K


      [PROPOSED] ORDER CONDITIONALLY CERTIFYING A SETTLEMENT
         CLASS, GRANTING PRELIMINARY APPROVAL OF THE CLASS
         ACTION SETTLEMENT, APPROVING THE FORM AND MANNER
          OF NOTICE, AND SCHEDULING FINAL APPROVAL HEARING

       This cause is before the Court on Plaintiffs’ Motion for Preliminary Approval of the Class

Action Settlement (the “Motion”). The Court, having considered the Motion, the supporting

memorandum of law, the parties’ Settlement Agreement (the “Settlement Agreement”), the

proposed forms of notice to the Settlement Class, the pleadings and other papers filed in this

Action, and the statements of counsel and the parties, has determined that the proposed Settlement

satisfies the criteria for preliminary approval, the proposed Settlement Class should be

preliminarily certified, and the proposed Notice Plan should be approved. Accordingly, good cause

appearing in the record, Plaintiffs’ Motion is GRANTED as set forth below:

Preliminary Approval of Settlement Agreement

       1.        Unless otherwise defined herein, all terms that are capitalized herein shall have the

meanings ascribed to those terms in the Settlement Agreement.

       2.        This Court has jurisdiction over the Litigation, Plaintiffs, all Settlement Class

Members, Defendants Dickey’s Barbecue Restaurants, Inc. and Dickey’s Capital Group, Inc.
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                     Page 25 of 45 PageID 508



(“Dickey’s” or “Defendants”), and any party to any agreement that is part of or related to the

Settlement.

        3.      The Court finds that the proposed Settlement with Dickey’s set forth in the

Settlement Agreement is fair, reasonable, and adequate, and warrants issuance of notice to the

Settlement Class. Accordingly, the proposed Settlement is preliminarily approved.

Provisional Certification of the Settlement Class

        4.      Solely for purposes of the Settlement, the Court conditionally certifies the

following class pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3) (“Settlement Class”):

        All residents of the United States who used a payment card to make a purchase at
        a “Dickey’s Barbecue Pit®” restaurant identified in Exhibit B [of the Settlement
        Agreement] between April 23, 2019, and October 29, 2020. The Settlement Class
        specifically excludes: (i) Dickey’s and its officers and directors; (ii) all Settlement
        Class Members who timely and validly request to opt-out from the Settlement
        Class; (iii) any Person who has agreed to release his or her claim(s) against
        Dickey’s arising out of or related to the Security Incident; and (iv) the Judge
        assigned to evaluate the fairness of this settlement and all court personnel directly
        involved therewith.

        5.      Subject to final approval of the Settlement, the Court finds and concludes for

settlement purposes only that the prerequisites to a class action, as set forth in Federal Rule of Civil

Procedure 23(a) and (b), are satisfied in that:

                (a)     the Settlement Class is so numerous that joinder of all members is

                        impracticable;

                (b)     there are questions of law or fact common to the Settlement Class;

                (c)     Plaintiffs and Class Counsel (each defined below) fairly and adequately

                        represent the Settlement Class;

                (d)     the claims of Plaintiffs are typical of those of Settlement Class Members;

                (e)     common issues predominate over any individual issues affecting the

                        members of the Settlement Class;


                                               2
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 26 of 45 PageID 509



               (f)     Plaintiffs fairly and adequately protect and represent the interests of all

                       members of the Settlement Class, and Plaintiffs’ interests are aligned with

                       the interests of all other members of the Settlement Class; and

               (g)     settlement of the Actions on a class action basis is superior to other means

                       of resolving this matter.

       6.      The Court appoints as Co-Lead Class Counsel Ben Barnow, of Barnow and

Associates, P.C.; Benjamin F. Johns, of Chimicles Schwartz Kriner & Donaldson-Smith LLP; and

John A. Yanchunis, of Morgan & Morgan Complex Litigation Group having determined that the

requirements of Rule 23(g) of the Federal Rules of Civil Procedure are fully satisfied by this

appointment. It also appoints as Additional Class Counsel Bruce W. Steckler and Paul D. Stickney,

of Steckler Wayne Cochran PLLC, Anthony L. Parkhill, of Barnow and Associates, P.C.;

Samantha E. Holbrook, of Chimicles Schwartz Kriner & Donaldson-Smith LLP; and Brian P.

Murray, of Glancy Prongay & Murray LLP.

       7.      The Court appoints Plaintiffs Demi Kostka, Vincent Jear, Latorsha Adams, Tammy

Jeary, Gabrielle McGuird, Jennifer Roy, Robert Stroman, Veronica Snyder, and Lashawn Parker

to serve as Representative Plaintiffs for settlement purposes only on behalf of the Settlement Class.

Notice to Settlement Class Members

       8.      The Court approves the Notices of Pendency and Proposed Settlement of Class

Action (the “Settlement Notices”) and finds that the dissemination of the Notices substantially in

the manner and form set forth in the Notice Plan attached to the Motion complies fully with the

requirements of Federal Rule of Civil Procedure 23 and due process of law and is the best notice

practicable under the circumstances. Non-material modifications to the Settlement Notices may be

made without further order of the Court.




                                             3
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                 Page 27 of 45 PageID 510



       9.      The notice procedures described in the Notice Plan attached to the Motion are

hereby found to be the best means of providing notice under the circumstances; are reasonably

calculated to apprise Settlement Class Members of the pendency of the action, the terms of the

proposed Settlement, and their rights under the proposed Settlement, including but not limited to

their rights to object to or exclude themselves from the proposed Settlement; and, when completed,

shall constitute due and sufficient notice of the proposed Settlement Agreement and the Final

Approval Hearing to all persons affected by and/or entitled to participate in the Settlement

Agreement, in full compliance with the notice requirements of Rule 23 of the Federal Rules of

Civil Procedure and due process of law.

       10.     The Claims Administrator is directed to carry out the Notice Plan, which shall be

completed in the manner set forth in the Settlement Agreement. No later than forty-five (45) days

from the date of this Order preliminarily approving the Settlement, the Claims Administrator shall

initiate the Notice Plan, which shall be completed in the manner set forth in the Settlement

Agreement.

       11.     All costs incurred in disseminating and otherwise in connection with the Settlement

Notices shall be paid from the Qualified Settlement Fund.

       12.     The claim form attached to the Settlement Agreement satisfies the requirements of

due process and of Rule 23(e) of the Federal Rules of Civil Procedure and thus is approved for

dissemination to the Settlement Class. The claim form shall be made available to the Settlement

Class as set forth on the Notice Plan and shall be made available to any potential Class member

that requests one.

Responses by Class Members and the Scheduling of a Final Approval Hearing

       13.     Settlement Class Members may opt-out (the “Opt-Out Deadline”) or object up to

135 days from the date of this order.


                                            4
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 28 of 45 PageID 511



       14.      Any member of the Settlement Class that wishes to be excluded (“opt out”) from

the Settlement Class must send a written Request for Exclusion to Counsel for Dickey’s and to the

designated Post Office box established by the Claims Administrator on or before the close of the

Opt-Out Deadline. Members of the Settlement Class may not exclude themselves by filing

Requests for Exclusion as a group or class, but must in each instance individually and personally

execute a Request for Exclusion. All Settlement Class Members that exclude themselves from the

Settlement Class will not be eligible to receive any benefits under the Settlement, will not be bound

by any further orders or judgments entered for or against the Settlement Class, and will preserve

their ability to independently pursue any claims they may have against Defendants.

       15.      Any member of the Settlement Class that does not properly and timely request

exclusion from the Settlement Class shall, upon entry of the Order and Final Judgment, be bound

by all the terms and provisions of the Settlement Agreement and Release, whether or not such

Class member objected to the Settlement and whether or not such Class member received

consideration under the Settlement Agreement.

       16.      A hearing on the Settlement (the “Final Approval Hearing”) shall be held before

this Court on                         , 2022 at               Courtroom ___ of the United States

Courthouse, 1100 Commerce Street, Dallas, Texas 75242.

       17.      At the Final Approval Hearing, the Court will consider (a) the fairness,

reasonableness, and adequacy of the proposed class settlement and whether the settlement should

be granted final approval by the Court; (b) dismissal with prejudice of the Action; (c) entry of an

order including the Release; (d) entry of the Final Approval Order; and (e) entry of final judgment

in this Action. Class Counsel’s application for award of attorney’s fees and costs, and request for




                                             5
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                     Page 29 of 45 PageID 512



the Court to award a service award to the Representative Plaintiffs, shall also be heard at the time

of the hearing.

       18.        The date and time of the Final Approval Hearing shall be subject to adjournment

by the Court without further notice to the members of the Settlement Class, other than that which

may be posted by the Court. Should the Court adjourn the date for the Final Approval Hearing,

that shall not alter the deadlines for mailing and publication of notice, the Opt-Out deadline, or the

deadlines for submissions of settlement objections, claims, and notices of intention to appear at

the Final Approval Hearing unless those dates are explicitly changed by subsequent Order.

       19.        Any person or entity who or which does not elect to be excluded from the

Settlement Class may, but need not, enter an appearance through his, her, or its own attorney.

Settlement Class Members that do not timely object or opt out and that do not have an attorney

enter an appearance on their behalf will be represented by Class Counsel.

       20.        Any person or entity who or which does not elect to be excluded from the

Settlement Class may object to the proposed Settlement. Any Class member may object to, inter

alia, (a) the proposed Settlement, (b) entry of Final Approval Order and the judgment approving

the Settlement, (c) Class Counsel’s application for fees and expenses, or (d) service award requests,

by serving a written objection upon Class Counsel, Dickey’s counsel, and the Court.

       21.        Each Settlement Class Member desiring to object to the Settlement Agreement shall

submit a timely written notice of his or her objection. Such notice shall state: (i) the objector’s full

name, address, telephone number, and email address (if any); (ii) information identifying the

objector as a Settlement Class Member, including proof that the objector is a member of the

Settlement Class (e.g., copy of notice or copy of original notice of the Security Incident); (iii) a

written statement of all grounds for the objection, accompanied by any legal support for the




                                               6
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                    Page 30 of 45 PageID 513



objection the objector believes applicable; (iv) the identity of all counsel representing the objector;

(v) the identity of all counsel representing the objector who will appear at the Final Fairness

Hearing; (vi) a list of all Persons who will be called to testify at the Final Fairness Hearing in

support of the objection; (vii) a statement confirming whether the objector intends to personally

appear and/or testify at the Final Fairness Hearing; and (viii) the objector’s signature and the

signature of the objector’s duly authorized attorney or other duly authorized representative, along

with documentation setting forth such representation. To be timely, written notice of an objection

in the appropriate form must be filed with the Clerk of the Court no later than the Claims Deadline,

and served concurrently therewith upon the Notice and Claims Administrator at the address

provided in the Notice; and Dickey’s Counsel, Ian C. Ballon, Esq., Greenberg Traurig, LLP, 1900

University Avenue, 5th Floor, East Palo Alto, CA 94303. If an Objector intends to appear at the

hearing, personally or through counsel, the Objector must include with the objection a notice of

the Objector’s intent to appear at the hearing. If counsel is appearing on behalf of more than one

Settlement Class member, counsel must identify each such Settlement Class member and each

Settlement Class member must have complied with the requirements of this Order. No Objector

may appear at the hearing unless the Objector indicates an intent to appear.

       22.     Objections, along with any notices of intent to appear and any supporting

documents, must be filed with the Clerk of the Court no later than one hundred and thirty-five

(135) days after the Preliminary Approval Order is entered. These documents must be filed with

the Clerk of the Court electronically or at the following address:

                       U.S. District Court for the Northern District of Texas
                                    Office of the Clerk of Court
                                            Room 1452
                                      1100 Commerce Street
                                         Dallas, TX 75242




                                              7
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 31 of 45 PageID 514



         23.   Only Settlement Class Members that have filed and served valid and timely notices

of objection shall be entitled to be heard at the Final Approval Hearing. Any Settlement Class

member that does not timely file and serve an objection in writing in accordance with the procedure

set forth in the Class Notice and mandated in this Order shall be deemed to have waived any

objection to (a) the Settlement; (b) the Release; (c) entry of Final Approval Order or any judgment;

(d) Class Counsel’s application for fees, costs, and expenses; or (e) service award requests for the

named Plaintiffs, whether by appeal, collateral attack, or otherwise.

         24.   Settlement Class Members need not appear at the hearing or take any other action

to indicate their approval.

         25.   Upon entry of the Order and Final Judgment all members of the Settlement Class

that have not personally and timely requested to be excluded from the Settlement Class will be

enjoined from proceeding against Defendants with respect to all of the Released Claims.

         26.   Dickey’s shall prepare and send, at the expense of Dickey’s, all notices that are

required by the Class Action Fairness Act of 2005 (“CAFA”) as specified in 28 U.S.C. § 1715.

Class Counsel and Counsel for Dickey’s shall cooperate promptly and fully in the preparation of

such notices, including providing Dickey’s with any and all information in their possession

necessary for the preparation of these notices. Dickey’s shall provide courtesy copies of the notices

to Class Counsel for the purpose of implementing the settlement. Defendants shall provide notice

to Class Counsel and the Court of compliance with the CAFA requirements within ten (10) days

of providing notice to Attorneys General under CAFA.

         27.   The schedule by which the events referenced above should occur is as follows:

 Event                                             Date




                                             8
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                 Page 32 of 45 PageID 515



 Dickey’s provides CAFA notice required by        Within 10 days after the filing of Plaintiffs’
 28 U.S.C. § 1715(b)                              Motion for Preliminary Approval of the Class
                                                  Action Settlement

 Dickey’s provides notice to Class Counsel        Within 10 days of providing notice to
 and the Court of compliance with CAFA            Attorneys General under CAFA
 requirements

 Class notice program commences                   Within 45 days after entry of this Preliminary
                                                  Approval Order

 Compliance with CAFA waiting period under        90 days after the appropriate governmental
 28 U.S.C. § 1715(d)                              officials are served with CAFA notice

 Motion for Attorney’s Fees, Reimbursement        At least 14 days before the objection deadline
 of Costs and Expenses, and Service Awards
 to be filed by Class Counsel

 Postmark deadline for requests for exclusion     135 days after entry of this Preliminary
 (Opt-Out) or objections                          Approval Order

 Postmark/filing deadline for filing claims       135 days after entry of this Preliminary
                                                  Approval Order

 Motion for Final Approval to be filed by class   At least 21 days before the Final Approval
 counsel                                          Hearing

 Final Approval Hearing                           No earlier than 170 days after entry of the
                                                  Preliminary Approval Order


                               Administration of the Settlement

       28.     The Court hereby appoints the claims administrator proposed by the parties, Epiq

(the “Claims Administrator”). Responsibilities of the Claims Administrator shall include: (a)

Providing notice of this Settlement, to the extent reasonably available, to Settlement Class

Members; (b) Obtaining information, to the extent reasonably available, to establish a reasonably

practical procedure to verify Settlement Class Members; (c) Effecting the notice plan as approved

by the Court; (e) Establishing and maintaining a Post Office box or other mailing address for

mailed written notifications of Opt-Out from the Settlement Class; (f) Establishing and




                                              9
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 33 of 45 PageID 516



maintaining the settlement website that, among other things, allows Settlement Class Members to

submit claims electronically; (g) Establishing and maintaining a toll-free telephone line for

Settlement Class Members to call with settlement-related inquiries, and answering the questions

of Settlement Class Members who call with or otherwise communicate such inquiries; (h)

Responding to any mailed or emailed Settlement Class Member inquiries; (i) Mailing paper copies

of the Notice and/or Claim Forms to Settlement Class Members who request them; (j) Processing

all written notifications of Opt-Outs from the Settlement Class; (k) Providing reports on Opt-Out

notices received; (l) In advance of the Final Fairness Hearing, preparing affidavits to submit to the

Court that: (i) attest to implementation of the notice plan in accordance with the Preliminary

Approval Order; and (ii) identify each Settlement Class Member who timely and properly provided

written notification of Opt-Out; (m) Within 60 days after the date the Judgment becomes Final,

provide activation instructions and/or payment via paper checks or digital payment, either

electronically or by U.S. or International Mail, to Settlement Class Members who have submitted

valid claims for: (i) Credit Services or (ii) monetary compensation as set forth herein; (n) Providing

weekly reports and a final report to Co-lead Class Counsel and Dickey’s Counsel that summarize

the number and amount of claims and Opt-Outs since the prior reporting period, the total number

and amount of claims and Opt-Outs received to date, the number and amount of any claims

approved and denied since the prior reporting period, the total number and amount of claims

approved and denied to date, and other pertinent information as requested by Co-lead Class

Counsel and Dickey’s Counsel; (o) Paying all Taxes and Tax-Related Expenses from the Qualified

Settlement Fund; (p) Performing any function related to settlement administration at the agreed

upon instruction of both Co-lead Class Counsel and Dickey’s Counsel in a frugal and prudent

manner, including, but not limited to, verifying that cash payments have been distributed; (q)




                                             10
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 34 of 45 PageID 517



Determining the validity of, and processing all claims submitted by Settlement Class Members;

and (r) Overseeing administration of the Qualified Settlement Fund.

Claims Process and Distribution and Allocation Plan

       29.     The parties have created a process for assessing and determining the validity and

value of claims and a payment methodology to Settlement Class Members who submit a timely,

valid claim form. The Court preliminarily approves the plan for remuneration described in Section

2.3 of the Settlement Agreement and directs that the Claims Administrator effectuate the

distribution of settlement consideration according to the terms of the Settlement Agreement,

should the Settlement be finally approved. Settlement Class Members who qualify for and wish to

submit a claim form shall do so in accordance with the requirements and procedures specified in

the notice and the Claim Form. If final Judgment is entered, all Settlement Class Members who

qualify for any benefit under the Settlement but fail to submit a claim in accordance with the

requirements and procedures specified in the notice and the Claim Form shall be forever barred

from receiving any such benefit, but will in all other respects be subject to and bound by the

provisions in the Settlement Agreement, the releases included in that Agreement, and the final

Judgment.

Additional Provisions

       30.     In the event the Settlement Agreement and the proposed settlement are terminated

in accordance with the applicable provisions of the Settlement Agreement, the Settlement

Agreement, the proposed Settlement, and all related proceedings shall, except as expressly

provided to the contrary in the Settlement Agreement, become null and void, shall have no further

force and effect; Settlement Class Members shall retain all of their current rights to assert any and

all claims against Defendants and any other released party; and the Defendants and any other

released parties shall retain any and all of their current defenses and arguments thereto (including


                                             11
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                    Page 35 of 45 PageID 518



but not limited to arguments that the requirements of Federal Rule of Civil Procedure 23(a) and

(b)(3) are not satisfied for purposes of continued litigation). These Actions shall thereupon revert

forthwith to their respective procedural and substantive status prior to the date of execution of the

Settlement Agreement and shall proceed as if the Settlement Agreement and all other related orders

and papers had not been executed.

       31.       Neither this Order nor the Settlement Agreement nor any other settlement-related

document nor anything contained herein or therein or contemplated hereby or thereby nor any

proceedings undertaken in accordance with the terms set forth in the Settlement Agreement or

herein or in any other settlement-related document, shall constitute, be construed as, or be deemed

to be evidence of or an admission or concession by Dickey’s as to the validity of any claim that

has been or could have been asserted against it or as to any liability by it as to any matter set forth

in this Order, or as to the propriety of class certification for any purposes other than for purposes

of the current proposed settlement.

       32.       Except as necessary to effectuate this Order, all proceedings and deadlines in this

matter are stayed and suspended pending the Final Approval Hearing and issuance of the final

Judgment, or until further order of this Court.

       33.       The Court reserves the right to adjourn or continue the Final Approval Hearing and

related deadlines without further written notice to the Class. If the Court alters any of those dates

or times, the revised dates and times shall be posted on the website maintained by the Claims

Administrator.

       IT IS SO ORDERED.

Dated: _____________________
                                               Hon. Ed Kinkeade
                                               United States District Judge




                                              12
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 36 of 45 PageID 519




              Exhibit B
      Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 37 of 45 PageID 520

Store Number    Address                       City              State   Zip
AL-0937         6886 Governors W. Suite 112   HUNTSVILLE        AL      35806
AL-1364         2115 E Main St                Dothan            AL      36301
AL-1012         7721 Airport Blvd #E100       MOBILE            AL      36608
AL-0953         13544 HWY 43 North            NORTHPORT         AL      35475
AR-0239         105 S. Dixieland Rd Ste A     LOWELL            AR      72745
AR-0706         3213 Main St Suite 1          ALEXANDER         AR      72022
AR-0656         407 S MAIN ST                 SEARCY            AR      72143
AZ-0874         402 E Greenway Pkway Ste 2    PHOENIX           AZ      85022
AZ-1183         7077 N. Thornydale RD. A1     MARANA            AZ      85741
AZ-1413         16581 BELL RD                 SURPRISE          AZ      85374
AZ-1415         15525 W ROOSEVELT ST STE108   GOODYEAR          AZ      85338
AZ-0403         1914 S Power Rd               Mesa              AZ      85206
AZ-0515         7919 E Thomas Rd              Scottsdale        AZ      85251
AZ-1417         10005 W McDowell Rd Ste 101   AVONDALE          AZ      85392
AZ-1418         2815 West Peoria Ave #101     PHOENIX           AZ      85051
AZ-1449         3125 E INDIAN SCHOOL RD       PHOENIX           AZ      85016
AZ-1545         195 South Hwy 92 Suite E      SIERRA VISTA      AZ      85635
AZ-1577         4722 E CACTUS RD              PHOENIX           AZ      85032
AZ-1644         1877 E WILLIAMS FIELD RD S1   GILBERT           AZ      85295
AZ-1645         1208 S Ellsworth Rd           MESA              AZ      85209
CA-0201         16391 Sierra Lakes Parkway    FONTANA           CA      92336
CA-0650         2363 East Colorado Blvd       PASADENA          CA      91107
CA-0700         1586 GATEWAY BLVD. STE C-7    FAIRFIELD         CA      94533
CA-0739         1668 E. 2ND ST. STE H         BEAUMONT          CA      92223
CA-0829         227 E. Main St.               VISALIA           CA      93291
CA-0954         5606 Balboa Ave #105 & 106    SAN DIEGO         CA      92111
CA-1000         2959 JAMACHA RD. #2959C       EL CAJON          CA      92021
CA-1112         13403 TELEGRAPH RD.           WHITTIER          CA      90605
CA-1163         1054 W AVE K                  LANCASTER         CA      93534
CA-1200         29273 CENTRAL AVE STE B       LAKE ELSINORE     CA      92532
CA-1247         1459 Martin King Jr Way       MERCED            CA      95340
CA-1248         1197 Sanguinetti Rd           SONORA            CA      95370
CA-1250         8855 APOLLO WAY STE 208       DOWNEY            CA      90242
CA-1604         116 E Compton Blvd            COMPTON           CA      90220
CA-1075         18742 SOLEDAD CANYON RD       SANTA CLARITA     CA      91351
CA-1085         19201 Bear Valley Road #I-C   APPLE VALLEY      CA      92308
CA-1263         1090 Huntington Drive         DUARTE            CA      91010
CA-1305         5200 E Ramon Rd, G5&6         PALM SPRING       CA      92264
CA-0777         3540 Riverside Plaza Dr       Riverside         CA      92506
CA-0975         15338 South Harlan Road       LATHROP           CA      95330
CA-0568         40315 WINCHESTER RD STE D     TEMECULA          CA      92591
CA-0723         12569 LIMONITE AVE #330       EASTVALE          CA      91752
CA-1086         12699 MAIN STREET, STE 100    HESPERIA          CA      92344
CA-1249         42452-4 Bob Hope Drive        RANCHO MIRAGE     CA      92270
CA-1353         344 S. TWIN OAKS VALLEY RD.   SAN MARCOS        CA      92078
      Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 38 of 45 PageID 521

CA-1384         12620 Day St STE E            MORENO VALLEY       CA   92553
CA-1493         21 FAIR LN                    PLACERVILLE         CA   95667
CA-1614         1725 NORTHPARK BLVD           SAN BERNARDINO      CA   92407
CA-1716         1335 W Imola Ave              NAPA                CA   94559
CA-1512         2517 184TH ST                 REDONDO BEACH       CA   90278
CA-1591         12270 BASE LINE RD #159       RANCHO CUCAMONGA CA      91730
CA-0370         9035 Reseda Blvd.             LOS ANGELES         CA   91324
CA-0428         5434 YGNACIO VALLEY RD        CONCORD             CA   94521
CA-0571         1212 El Camino Real Ste C-D   SAN BRUNO           CA   94066
CA-0669         3140 Countryside Drive        TURLOCK             CA   95380
CA-0778         1125 W Rancho Vista Blvd #B   PALMDALE            CA   93551
CA-1009         1941 W. Malvern               FULLERTON           CA   92833
CA-1067         2063 RANCHO VALLEY DR #340    POMONA              CA   91766
CA-1088         9359 Central Ave #A           MONTCLAIR           CA   91763
CA-1169         2207 Claribel Rd STE D        RIVERBANK           CA   95367
CA-1170         2435 E. Emperial HWY STE E    BREA                CA   92821
CA-1174         2165 Arnold Way               ALPINE              CA   91901
                                              RANCHO SANTA
CA-1239         30451 Avenida De Las Flores                       CA   92688
                                              MARGA
CA-1283         79775 Ca-111                  LA QUINTA           CA   92253
CA-1319         1950 XIMENO AVE               LONGBEACH           CA   90815
CA-1336         4415 Howard Rd                WESTLEY             CA   95387
CA-1358         713 Woollomens Ave            DELANO              CA   93215
CA-1480         5125 CANDLEWOOD RD            LAKEWOOD            CA   90712
CA-1580         2620 FISHER BLVD              BARSTOW             CA   92311
CO-0020         10230 E. ARAPAHOE ROAD        CENTENNIAL          CO   80112
CO-0124         459 S. MCCASLIN BLVD #6       LOUISVILLE          CO   80027
CO-0589         117 W 4TH STREET              RIFLE               CO   81650
CO-0634         2721 SOUTH COLLEGE AVENUE     FT. COLLINS         CO   80525
CO-1149         6628 W 10th St Unit 102       GREELEY             CO   80631
CO-1167         104 E 29TH ST UNIT C          LOVELAND            CO   80538
CO-1359         1935 Main St #A               LONGMONT            CO   80501
CO-1343         29 N. 42nd Ave.               BRIGHTON            CO   80601
DE-1579         2830 Pulaski Hwy              NEWARK              DE   19702
FL-0784         2119 TYRONE BLVD NORTH        ST PETERSBURG       FL   33710
FL-1132         19348 Cortez Blvd             BROOKSVILLE         FL   34601
FL-1151         Pier Park West # 7020         PANAMA CITY BEACH   FL   32413
FL-1154         2070 HIGHWAY 71               MARIANNA            FL   32448
FL-1003         7175 N DAVIS HWY SHOP #31     PENSACOLA           FL   32504
FL-1640         23020 state rd 54             LUTZ                FL   33549
FL-1756         1480 TIGER PARK LANE          GULF BREEZE         FL   32563
FL-1526         10071 W FLAGLER ST. STE 110   MIAMI               FL   33174
GA-0392         1109 US HWY 80 EAST UNI       POOLER              GA   31322
GA-1055         4005 Winder Hwy #160          FLOWERY BRANCH      GA   30542
GA-1768         5369 LAUREL ISLAND PKWY       KINGSLAND           GA   31548
GA-0401         1610 Ridenour Blvd Ste 105    KENNESAW            GA   30144
      Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21    Page 39 of 45 PageID 522

GA-1684         3350 Buford Dr #A150          BUFORD             GA     30519
GA-1378         2730 SPOT RD                  CUMMING            GA     30040
HI-1634         91-710 Farrington Hwy         Kapolei            HI     96707
ID-1982         2845 E OVERLAND RD. #190      MERIDIAN           ID     83642
ID-1318         327 W. Hanley Ave             COEUR D'ALENE      ID     83815
IL-1686         2951 Centerpoint Way          ELWOOD             IL     60421
IL-1389         6681 Grand Ave Suite A-1      GURNEE             IL     60031
KY-0914         1301 WINCHESTER RD STE 325    LEXINGTON          KY     40505
KY-1164         12 Carol Rd.                  WINCHESTER         KY     40391
LA-0870         61103 AIRPORT RD STE B-C      SLIDELL            LA     70460
LA-1173         111 OLD CAMP RD #106          LAFAYETTE          LA     70508
LA-1361         3020 Veterans Blvd.           METAIRIE           LA     70002
LA-1471         1736 W Prien Lake Rd          LAKE CHARLES       LA     70601
LA-1472         227 NORTH HWY 171             LAKE CHARLES       LA     70611
MD-1117         15904 CRAIN HWY               BRANDYWINE         MD     20613
MI-1136         20755 HALL ROAD               MACOMB             MI     48044
MI-1309         4761 S Baldwin Rd             LAKE ORION         MI     48359
MI-0781         44741 Five Mile Rd            Plymouth           MI     48170
MI-0582         4825 Carroll Lake Rd          COMMERCE TOWNSHIP MI      48382
MI-1172         36669 VAN DYKE                STERLING HEIGHTS   MI     48312
MI-1390         48975 Grand River Ave.        NOVI               MI     48374
MI-1600         3694 Hereford Rd              SALINE             MI     48176
MN-0429         5466 ST. CROIX TRAIL #100     NORTH BRANCH       MN     55056
MN-0871         4960 MILLER TRUNK HWY         HERMANTOWN         MN     55811
MO-0454         1360 Republic Rd.             SPRINGFIELD        MO     65804
MO-0455         111 N MASSEY BLVD             NIXA               MO     65714
MO-0775         233 ILLINOIS AVE, STE 2       FORT LEONARD WOOD MO      65473
MO-1696         1040 Kingshighway             ROLLA              MO     65401
MO-0326         1912 S BRENTWOOD BLVD         BRENTWOOD          MO     63144
MO-0764         1736 NW CHIPMAN RD            LEE'S SUMMIT       MO     64081
MO-0965         600 S. Hwy 291                LIBERTY            MO     64068
MO-1137         1348 S. Noland Rd             INDEPENDENCE       MO     64055
MO-1138         2510 NE VIVION RD             KANSAS CITY        MO     64118
MS-1432         1542 HIGHWAY 1 SOUTH          GREENVILLE         MS     38701
MS-0427         175 GRANDVIEW BLVD #910       MADISON            MS     39110
MS-0444         1323 W Government St          BRANDON            MS     39042
MS-0640         11240 HWY 49N UNIT B          GULFPORT           MS     39503
MS-0618         1201 Hwy 49 South Ste 5       RICHLAND           MS     39218
MT-0619         2519 MONTANA AVE              BILLINGS           MT     59101
MT-1368         175 Hutton Ranch Rd Ste 115   KALISPELL          MT     59901
NC-0570         1636 Hendersonville Rd #125   ASHEVILLE          NC     28803
NC-0296         10564 S HWY 15 501            SOUTHERN PINES     NC     28387
NC-1496         7119 O'Kelly Chapel Rd Unit   CARY               NC     27519
ND-0891         4524 Memorial Hwy #103        MANDAN             ND     58554
NE-0834         117 E 17TH STREET             FALLS CITY         NE     68355
      Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21              Page 40 of 45 PageID 523

NE-0956         3525 South Lincoln Ave                YORK                 NE     68467
NM-1369         1410 C-D Wyoming Blvd NE              ALBUQUERQUE          NM     87112
NM-1282         1501 Sudderth Drive                   RUIDOSO              NM     88345
NY-1404         3186-3220 Sheridan Drive              AMHERST              NY     14226
OH-1147         9540 MASON MONTGOMERY RD.             MASON                OH     45040
OH-0789         7769 Day Drive                        PARMA                OH     44129
OH-1292         752 Gardner Road                      SPRINGBORO           OH     45066
OH-1444         3915 BRITTON PARKWAY                  HILLIARD             OH     43026
OH-1749         1081 North 21st Street                NEWARK               OH     43055
OR-1160         18021 NW Evergreen Pkwy #16           BEAVERTON            OR     97006
OR-1008         14700 SW Murray Scholls Dr. Ste 102   Beaverton            OR     97007
OR-1438         2201 LLOYD CENTER                     PORTLAND             OR     97232
OR-1439         12000 SE 82nd Ave                     Happy Valley         OR     97086
OR-1439         12000 SE 82ND AVE                     HAPPY VALLEY         OR     97086
PA-0165         3221 SCHOENERSVILLE RD                BETHLEHEM            PA     18017
PA-1350         3401 Hartdale Dr.                     CAMP HILL            PA     17011
PA-1329         330 Town Center Dr                    YORK                 PA     17408
SC-0473         10136 TWO NOTCH ROAD #100A            COLUMBIA             SC     29229
SC-0715         2003 West Lucas                       FLORENCE             SC     29503
SC-0917         1416 HWY 17 NORTH #6                  NORTH MYRTLE BEACH SC       29852
SD-0295         2200 N MAPLE AVENUE UNIT 330          RAPID CITY           SD     57701
TN-0905         8113 MOORES LANE, STE 1900            BRENTWOOD            TN     37027
TN-1578         115 S. HARTMANN DRIVE                 LEBANON              TN     37087
TN-1429         3784 Parkway, Suite 101               PIGEON FORGE         TN     37863
TX-0010         3700 GUS THOMASSON                    MESQUITE             TX     75150
TX-0060         5530 S Cooper                         Arlington            TX     76017
TX-0062         1801 BALLPARK WAY                     ARLINGTON            TX     76006
TX-0077         1003 Hwy 77 N                         WAXAHACHIE           TX     75165
TX-0079         3254 Irving Blvd                      DALLAS               TX     75247
TX-0080         1301 CENTURY WAY                      WYLIE                TX     75098
TX-0548         8006 Cedar Springs #C2190             DALLAS               TX     75205
TX-0013         1150 N Plano Rd                       Richardson           TX     75081
TX-0043         801 S Denton Tap Rd                   Coppell              TX     75019
TX-0074         7070 Preston Rd.                      FRISCO               TX     75034
TX-0006         2445 W Northwest Hwy #106             DALLAS               TX     75220
TX-0009         14999 Preston Rd #C100                DALLAS               TX     75254
TX-0877         13605 Midway Rd Suite 120             FARMERS BRANCH       TX     75244
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21   Page 41 of 45 PageID 524




              Exhibit C
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 42 of 45 PageID 525


            DICKEY’S BARBECUE SETTLEMENT CLAIM FORM

This Claim Form should be filled out by submitting this form electronically by mail if you used a
credit or debit card to make a purchase at an affected Dickey’s Barbecue Pit® location (“Dickey’s”)
at any time during the Security Incident Period of April 23, 2019 to October 29, 2020 (“Security
Incident”). You may receive monetary reimbursement, a lump sum cash payment, or credit
monitoring services if you fill out this Claim Form, if the Settlement is approved, and if you are
found to be eligible for a benefit.

The Settlement Notice describes your legal rights and options. To obtain the Settlement Notice
and find more information regarding your legal rights and options, please visit the official
Settlement website, XXX, or call toll-free XXX. Claim forms must be submitted online or be
postmarked by XXX.

You can submit your claim electronically below or mailing a hard copy to the Settlement
Administrator at:

                                                  [Insert]

Only one Settlement Claim may be submitted per Settlement Class Member, and only one
Settlement Claim may be submitted per credit or debit card.

1. CLASS MEMBER INFORMATION

Required Information (by completing this section you attest that you used a credit or debit card to
make a purchase at a Dickey’s Barbecue Pit® location listed here (INSERT URL/HYPERLINK) at
any time during the Security Incident Period of April 23, 2019 to October 29, 2020):

First: __________________________ M: _____ Last:_________________________________

Address: ____________________________________________________________________

City: ______________________________________ State: _______________ ZIP: _________

Phone: __________________________________________________________________

Email Address:_________________________________________________________________

Any information that you provide as part of this settlement - including your name, e-mail address,
mailing address, or any other contact information - will not be used by Dickey’s or any third
party for any marketing purpose, or for any other reason that is unrelated to the administration
of this settlement.

2. PAYMENT ELIGIBILITY INFORMATION

Please review the Settlement Notice and Section III of the Settlement Agreement, available at
[settlement website], for more information on the types of benefits available and rules for receiving
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                 Page 43 of 45 PageID 526

benefits.

There are three types of relief available to Settlement Class Members: (A) Expense
Reimbursement (up to a maximum of $5,000); (B) Cash Payment Option (estimated to be $100
for California residents and $50 for other Class Members), and (C) Credit Services Option. You
are entitled to compensation in only one category and are required to select one option below. In
order to claim a reimbursement under the Expense Reimbursement category, you must provide
related documentation with your Claim Form as set forth below. You do not need to provide any
documentary proof beyond this claim form if you are electing to receive a Cash Payment or the
Credit Services Option.

Please indicate which type of award you are making a Claim for, and complete only that section
below:

                       ❑ Expense Reimbursement
                       ❑ Cash Payment
                       ❑ Credit Services Option

If you checked Expense Reimbursement or Cash Payment above, please indicate below whether
you would like to receive a payment by a paper check or receive a digital payment if your claim
is approved:

                       ❑ Paper Check
                       ❑ Digital Payment

A. Expense Reimbursement

       I attest as follows:

       ❑ (Required): I experienced an out-of-pocket monetary loss in connection with an actual
       or attempted fraudulent transaction reasonably attributable to the Security Incident.


       DATE                                 DESCRIPTION                                 AMOUNT



Expenses listed must be supported by reasonable documentation submitted along with this
claim form.

The total amount of out-of-pocket loss that I am claiming is $________________.

Examples: Out-of-pocket expenses may include, but are not limited to actual money spent or lost
because of unreimbursed fraud charges, bank fees, replacement card fees, late fees from
transactions with third parties that were delayed due to fraud or card replacements, credit freeze
fees, parking expenses or transportation expenses for trips to a financial institution to address
fraudulent charges or receive a replacement payment card, and other expenses reasonably
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                   Page 44 of 45 PageID 527

attributable to the Security Incident.

Instructions: You can upload reasonable proof of out-of-pocket expenses by first saving one of the
above forms of documentation as a document or photo to your computer or smartphone (as a
screenshot, .pdf, .jpg, .jpeg or other compatible file). Then, click the link below and search for and
select the file from your device to upload that file as an attachment to your claim form.

        Upload Documents


B. Cash Payment

       I attest that at the time of the Security Incident I was (Required):

       ❑ A resident of the state of California.

       ❑ Not a resident of the state of California.


C. Credit Services Option

       I elect to receive my Credit Services activation code at the following address (select one):

       ❑ Via email: ____________________________________________________________

       ❑ Via postal mail: ________________________________________________________

                             ________________________________________________________

3. CERTIFICATION

I declare that the information supplied in this Claim Form by the undersigned is true and correct
to the best of my recollection, and that this form was signed and executed on the date set forth
below.

I understand that all information provided on this Claim Form is subject to verification and that I
may be asked to provide supplemental information by the Settlement Administrator before my
claim will be considered complete and valid.

Print Name: _______________________________________________________

Signature: ________________________________________________________

Date: _____________________________

Once you’ve completed all applicable sections, please submit the Claim Form and upload all
supporting documentation or print and mail this Claim Form and all required supporting
Case 3:20-cv-03424-K Document 62-1 Filed 08/14/21                Page 45 of 45 PageID 528

documentation to the address provided below, postmarked by XXXXX.

                             [Insert Settlement Administrator]




                                      SUBMIT
